            Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 1 of 48




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

MILTON SHELTON,                           )
                                          )
               Petitioner,                )
                                          )
v.                                        )      Case No. CIV-21-1082-D
                                          )
SCOTT NUNN,                               )
                                          )
               Respondent.                )

            RESPONSE TO PETITION FOR WRIT OF HABEAS CORPUS

       The Attorney General of the State of Oklahoma, John M. O’Connor, appearing on

behalf of the above-named Respondent, in response to the Petition for a Writ of Habeas

Corpus on file herein shows the Court as follows:

       1.      Petitioner, Milton Shelton, an inmate in the custody of the Oklahoma

Department of Corrections, appearing pro se, has filed with this Court a petition seeking

federal habeas corpus relief.

       2.      Petitioner is currently incarcerated pursuant to a Judgment and Sentence

entered in the District Court of Oklahoma County, Case No. CF-2016-6494, after Petitioner

was found guilty of Human Trafficking for Commercial Sex, After Former Conviction of

Two or More Felonies. Petitioner was sentenced to thirty (30) years imprisonment.

       3.      Petitioner filed a direct appeal of his conviction in the Oklahoma Court of

Criminal Appeals (hereinafter “OCCA”), Case No. F-2018-120. On May 23, 2019, the

OCCA affirmed the Judgment and Sentence. Petitioner’s direct appeal brief is attached as
            Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 2 of 48




Exhibit 1. The State’s direct appeal response brief is attached as Exhibit 2. The OCCA’s

Summary Opinion is attached as Exhibit 3.

       4.      On February 3, 2020, Petitioner filed an Application for Post-Conviction

Relief, and a brief in support, in Oklahoma County District Court. The State filed a

response to the application on April 13, 2020, and Petitioner filed a reply to the State’s

response on April 27, 2020. Petitioner’s Application for Post-Conviction Relief and Brief

in Support are attached as Exhibits 4 and 5, respectively. The State’s Response to

Application for Post-Conviction Relief is attached as Exhibit 6. Petitioner’s Reply to

State’s Resonse [sic] for Post-Conviction Relief is attached as Exhibit 7.

       On September 14, 2020, Petitioner filed a Motion for Evidentiary Hearing, and the

State filed a response to the motion on September 28, 2020. On December 21, 2020,

Petitioner filed an objection to the State’s response. Petitioner’s Motion for Evidentiary

Hearing is attached as Exhibit 8.      The State’s Response to Petitioner’s Motion for

Evidentiary Hearing and Supplemental Brady Claim is attached as Exhibit 9. Petitioner’s

Objection to the State’s Reponse [sic] to Motion for an Evidentiary Hearing is attached as

Exhibit 10.

       On March 29, 2021, Petitioner filed a Rule 3.11 Motion for Leave to Supplement

the Record with Exhibit Outside the Record. On April 16, 2021, Petitioner filed a Motion

for Leave to Supplement Post-Conviction Relief. On April 23, 2021, the Honorable Amy

Palumbo, District Judge of Oklahoma County, denied Petitioner’s request for post-

conviction relief. Petitioner’s Rule 3.11 Motion for Leave to Supplement the Record with

Exhibit Outside the Record is attached as Exhibit 11. Petitioner’s Motion for Leave to

                                             2
            Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 3 of 48




Supplement Post-Conviction Relief is attached as Exhibit 12. The state district court’s

Order Denying Application for Post-Conviction Relief is attached as Exhibit 13.

       Petitioner appealed the district court’s decision to the OCCA in Case No. PC-2021-

549, and filed a Petition in Error and Brief in Support on June 10, 2021. The OCCA

affirmed the denial of post-conviction relief on October 11, 2021. Petitioner’s Petition in

Error and Brief in Support in Case No. PC-2021-549, is attached as Exhibit 14. The

OCCA’s Order Affirming the Denial of Application for Post-Conviction Relief in Case

No. PC-2021-549, is attached as Exhibit 15.

       5.      The petition is timely.

       6.      Petitioner’s Propositions I, II, IV, V, VI, XI, XII, and XIII, and a portion of

Proposition IX, are unexhausted. Respondent does not waive exhaustion. As will be

shown, the unexhausted claims in Petitioner’s Propositions I, II, IV, and IX, are subject to

an anticipatory bar, and the unexhausted claims in Petitioner’s Propositions V, VI, XI, XII

and XIII are rendered moot by the State’s response to Petitioner’s habeas petition.

       7.      No evidentiary hearing is required.      As to Petitioner’s Proposition IX,

Petitioner has failed to show that a factual basis for the claims was not made in state court

and that the facts underlying the claims would be sufficient to establish by clear and

convincing evidence that but for constitutional error, no reasonable fact finder would have

found the applicant guilty of the underlying offenses. See 28 U.S.C. § 2254(e)(2). See

also Cullen v. Pinholster, 563 U.S. 170, 185 (2011) (holding that evidence introduced in

federal court has no bearing on § 2254(d)(1) review, and “[i]f a claim has been adjudicated

on the merits by a state court, a federal habeas petitioner must overcome the limitations of

                                              3
            Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 4 of 48




§ 2254(d)(1) on the record that was before that state court”); Black v. Workman, 682 F.3d

880, 895 (10th Cir. 2012) (“[T]he Supreme Court decided in Cullen v. Pinholster . . . that

even if a federal-court evidentiary hearing is not barred by § 2254(e)(2), the evidence so

obtained is inadmissible in reviewing a claim adjudicated on the merits in state court.”).

       Because the OCCA did not address the merits of Petitioner’s Proposition VII, this

Court is not limited to the record that was before the state court in reviewing this claim.

Cf. Littlejohn v. Trammell, 704 F.3d 817, 857 n.21 (10th Cir. 2013) (finding that because

the OCCA did not adjudicate the petitioner’s ineffective assistance of counsel claim on the

merits, “so long as he qualifies for one, a federal evidentiary hearing may be used to

develop the factual basis for his claim” and the federal courts “may consider the evidence

produced in the hearing in assessing the merits of his claim, without running afoul of”

Cullen).     Respondent has offered sufficient evidence for this Court to adjudicate

Petitioner’s Proposition VII without the necessity of a hearing. See Anderson v. Att’y Gen.

of Kansas, 425 F.3d 853, 858 (10th Cir. 2005) (observing that “an evidentiary hearing is

unnecessary if the claim can be resolved on the record”).

       8.      Respondent has attached the relevant documents necessary for an

adjudication of this matter as exhibits, and the relevant portions of the original record and

the transcripts are attached as Exhibits 16 and 17, respectively. Transcripts of a motions

hearing of December 1, 2017 (Mot. Tr.), the jury trial of December 4-7, 2017 (Tr. I-IV),

and the sentencing of January 30, 2018 (Sent. Tr.), and the original record, are being filed

conventionally, along with the trial exhibits. The transcript of the preliminary hearing of

March 13, 2017, is available, but not relevant to the issues presented.

                                             4
          Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 5 of 48




                                STANDARD OF REVIEW

       Under the Antiterrorism and Effective Death Penalty Act, hereinafter referred to as

the AEDPA, a petition for writ of habeas corpus will not be granted with respect to any

claim that was adjudicated on the merits in state court unless the adjudication of the claim:

          (1) resulted in a decision that was contrary to, or involved an
          unreasonable application of, clearly established Federal law, as
          determined by the Supreme Court of the United States; or

          (2) resulted in a decision that was based on an unreasonable
          determination of the facts in light of the evidence presented in the
          State court proceeding.

28 U.S.C. § 2254(d).

       “A state court’s determination that a claim lacks merit precludes federal habeas

relief so long as ‘fairminded jurists could disagree’ on the correctness of the state court’s

decision.” Woods v. Etherton, 578 U.S. 113, 116-17 (2016) (quoting Harrington v. Richter,

562 U.S. 86, 101 (2011)). This is intended to be a difficult standard to meet. Richter, 562

U.S. at 102. “Section 2254(d) reflects the view that habeas corpus is a ‘guard against

extreme malfunctions in the state criminal justice systems,’ not a substitute for ordinary

error correction through appeal.” Id. (quoting Jackson v. Virginia, 443 U.S. 307, 332 n.5

(1979)). See also Virginia v. LeBlanc, __ U.S. __, 137 S. Ct. 1726, 1729 (2017) (“A proper

respect for AEDPA’s high bar for habeas relief avoids unnecessarily ‘disturb[ing] the

State’s significant interest in repose for concluded litigation, den[ying] society the right to

punish some admitted offenders, and intrud[ing] on state sovereignty to a degree matched

by few exercises of federal judicial authority.’” (quoting Richter, 562 U.S. at 103)

(alterations in original)); Schriro v. Landrigan, 550 U.S. 465, 473 (2007) (“The question

                                              5
          Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 6 of 48




under AEDPA is not whether a federal court believes the state court’s determination was

incorrect but whether that determination was unreasonable – a substantially higher

threshold.”).

       For purposes of Section 2254(d)(1), “clearly established Federal law” consists of

“the holdings, as opposed to the dicta” of Supreme Court decisions. White v. Woodall, 572

U.S. 415, 419 (2014) (alteration and internal quote omitted). “The only federal law that

can be clearly established for purposes of Smith’s § 2254(d) appeal is Supreme Court

precedent interpreting the Constitution.” Smith v. Dinwiddie, 510 F.3d 1180, 1186 (10th

Cir. 2007).     “‘The absence of clearly established federal law is dispositive under

§ 2254(d)(1)’ and results in the denial of habeas relief.” Grant v. Royal, 886 F.3d 874, 889

(10th Cir. 2018) (citation omitted). “[I]f a habeas court must extend a rationale before it

can apply to the facts at hand, then by definition the rationale was not clearly established

at the time of the state-court decision.” Woodall, 572 U.S. at 426 (internal quote omitted).

“[A] state-court decision is an unreasonable application of . . . clearly established [Supreme

Court] precedent if it correctly identifies the governing legal rule but applies that rule

unreasonably to the facts of a particular prisoner’s case.” Id. Reversal under the AEDPA

is allowed “only if a state court’s decision is contrary to a Supreme Court decision, and

‘circuit precedent may [not] be used to refine or sharpen a general principle of Supreme

Court jurisprudence into a specific legal rule.’” Grant v. Trammell, 727 F.3d 1006, 1020

(10th Cir. 2013) (quoting Marshall v. Rodgers, 569 U.S. 58, 64 (2013)).

       The specificity of the governing legal rule determines the scope of reasonableness

in its application. “[E]valuating whether a rule application was unreasonable requires

                                              6
          Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 7 of 48




considering the rule’s specificity. The more general the rule, the more leeway courts have

in reaching outcomes in case-by-case determinations.” Yarborough v. Alvarado, 541 U.S.

652, 664 (2004). “[R]elief is available under § 2254(d)(1)’s unreasonable-application

clause if, and only if, it is so obvious that a clearly established rule applies to a given set of

facts that there could be no fairminded disagreement on the question.” Woodall, 572 U.S.

at 427 (internal quote omitted).

       Habeas review of factual determinations under Section 2254(d)(2) is “even

narrower.” Ryder ex rel. Ryder v. Warrior, 810 F.3d 724, 739 (10th Cir. 2016). The Tenth

Circuit has described habeas review under Section 2254(d)(2) as “‘a daunting standard—

one that will be satisfied in relatively few cases.’” Byrd v. Workman, 645 F.3d 1159, 1172

(10th Cir. 2011) (quoting Taylor v. Maddox, 366 F.3d 992, 1000 (9th Cir. 2004)). The

AEDPA requires that federal courts give “substantial deference” to the State trial court’s

factual findings. Brumfield v. Cain, 576 U.S. 305, 314 (2015). For purposes of Section

2254(d)(2), “an imperfect or even an incorrect determination of the facts isn’t enough . . .

[a] determination must be unreasonable.” Grant, 727 F.3d at 1024 (emphasis in original).

“If reasonable minds reviewing the record might disagree about the finding in question, on

habeas review that does not suffice to supersede the trial court’s determination.” Id.

(internal quotation and alterations omitted). See also Ryder, 810 F.3d at 739 (if reasonable

minds might differ on the correct finding, on habeas review the court “must defer to the

state court decision”).

       A petitioner who alleges a state court made an unreasonable determination of the

facts under Section 2254(d)(2), carries the burden of proof.

                                                7
          Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 8 of 48




              AEDPA instructs that, when a federal habeas petitioner
              challenges the factual basis for a prior state-court decision
              rejecting a claim, the federal court may overturn the state
              court’s decision only if it was “based on an unreasonable
              determination of the facts in light of the evidence presented in
              the State court proceeding.” 28 U.S.C. § 2254(d)(2). The
              prisoner bears the burden of rebutting the state court’s factual
              findings “by clear and convincing evidence.” § 2254(e)(1).

Burt v. Titlow, 571 U.S. 12, 18 (2013); see also Hancock v. Trammell, 798 F.3d 1002, 1012

(10th Cir. 2015) (petitioner bears the burden of showing an unreasonable determination of

fact and that the disposition was based on a factually mistaken view of the record). Further,

“‘a state-court factual determination is not unreasonable merely because the federal habeas

court would have reached a different conclusion in the first instance.’” Titlow, 571 U.S. at

18 (quoting Wood v. Allen, 558 U.S. 290, 301 (2010)).

       With this standard of review in mind, Respondent addresses Petitioner’s

propositions of error below.

                            STATEMENT OF THE FACTS 1

       On July 20, 2016, agents from the Oklahoma Bureau of Narcotics (“OBN”) and

officers with the Oklahoma City Police Department, working together, arrested Petitioner

at the Biltmore Hotel in Oklahoma City for human trafficking (Tr. II 33, 45-46, 68-73, 202-

06). A short time earlier, the agents had detained Leticia Hudson and A.H. at a Motel 6

along I-35 in Oklahoma City (Tr. II 44, 198). The women were detained after agreeing to

perform sex acts with undercover OBN Agent Jack Forney (Tr. II 34-44, 197-98). The



1
 In large part, the facts are those that were presented by the State on direct appeal (Exhibit
2 at 1-10).
                                              8
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 9 of 48




women told Agent Blaine Phillips they had been trying to escape their pimp (Tr. II 198).

A.H., upset, withdrawn and afraid, described Petitioner, whom she knew only as Milton,

and the car he drove, and told the agents where they could find him (Tr. II 200-01, 219).

The women also described a woman who would be found with Petitioner, Michelle Barton,

who was about eight months pregnant (Tr. II 73, 201). A.H.’s information was accurate.

Petitioner, Michelle Barton, and a third woman were arrested at the Biltmore Hotel (Tr. II

45-46, 68-73, 202-06).

       A.H. had met Petitioner earlier that July at a Motel 6 in Tulsa, where she had been

staying with Tara, her aunt’s friend, in exchange for watching Tara’s three children during

the day (Tr. II 82-85). A.H. had recently turned eighteen and aged out of the foster care

system which she was in up until that time (Tr. II 83). In the early morning hours of the

night A.H. met Petitioner, he invited her and K., her fifteen-year-old friend, to his motel

room (Tr. II 88-93). There, Petitioner and K. smoked marijuana, but A.H. did not smoke

(Tr. II 95). Petitioner asked A.H. if there was something else she liked, and she told him

she liked methamphetamine (Tr. II 95). Petitioner then made a phone call and had someone

bring methamphetamine to the motel room (Tr. II 95). A.H. did not pay Petitioner for the

methamphetamine, and he did not tell her she owed him anything (Tr. II 95-96). A.H. used

the methamphetamine that night and got high (Tr. II 96).

       Petitioner then began telling A.H. that she was “smarter than this, . . . better than

this,” and “really pretty.” (Tr. II 96). While A.H. was still under the influence of

methamphetamine, Petitioner told her she should not be hanging around a motel, and there

were other things that she could be doing that would allow her to make money and get

                                             9
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 10 of 48




clothes and makeup (Tr. II 96, 98). Petitioner did not have to spell it out for A.H. (Tr. II

96). She knew there were only two options “when somebody’s telling you there’s

something that you could be doing to make money,” either dealing drugs or being a

prostitute (Tr. II 96-97). Because he kept telling her she was beautiful, she knew he was

not talking about having her sell drugs (Tr. II 97). Petitioner told her he could help her out

with money if she came with him (Tr. II 97).

       A.H.’s identification, Social Security card, and birth certificate had been lost while

she was in foster care (Tr. II 100). Unable to get a job and feeling as though her only other

option was to watch Tara’s children, A.H. agreed to travel to Oklahoma City with Petitioner

(Tr. II 98, 100-01). Her understanding was that they would be working together, with him

getting her what she needed, her performing sexual acts with people in exchange for

money, and that they would split the money she made (Tr. II 98-99). Before going to

Oklahoma City, they went to a Walmart in Tulsa where Petitioner bought A.H. tank tops,

jean-leggings, bras, underwear, toiletries, and makeup (Tr. II 97, 99).

       After A.H., still under the influence of the methamphetamine, showered at the motel

and did her hair and makeup, she and Petitioner drove to Oklahoma City in his car (Tr. II

101-02). After two stops at the homes of two of Petitioner’s friends in Oklahoma City,

they went with one of his friends to Ross (Tr. II 102-04). There, Petitioner bought A.H.

more clothing: several pairs of jeans, some tops, a lingerie set, and some shoes (Tr. II 104-

05). A.H. did not ask Petitioner to buy her the clothes, and he did not tell her she owed

him for them (Tr. II 105-06). Instead, Petitioner told A.H. she would need the clothes, that

“[n]obody’s gonna want to be with somebody who doesn’t look like they’re looking great,”

                                             10
          Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 11 of 48




that “[n]obody wants to date somebody who’s all run down and looking bad,” and “[t]hat’s

how you’re gonna make your money is looking nice.” (Tr. II 104-06). To “make a date”

meant to “[s]et up an appointment to engage in sexual activity in exchange for money.”

(Tr. II 105).

       After leaving Ross, Petitioner took A.H. to an Americas Best Value Inn motel at I-

40 and Meridian in Oklahoma City (Tr. II 106-07). Petitioner rented a room for A.H. for

the sole purpose that she would have a place to perform sexual acts in exchange for money

(Tr. II 107-08). A.H. did not ask Petitioner to rent the room for her (Tr. II 108). There,

Petitioner told A.H. that another woman who worked for him would be in touch with her

to help her write an online ad which would draw attention and generate dates (Tr. II 109).

While this woman helped A.H. choose which words to use, Petitioner helped her choose

which photographs to use (Tr. II 109-12). Petitioner gave A.H. one of his phones to use to

post her ad on Backpage, a website known for prostitution (Tr. II 34, 110, 112-13, 161).

Petitioner, A.H., and the woman who heled her write the ad, together determined what

A.H.’s prices would be (Tr. II 116). In response to the ad, people started calling Petitioner’s

phone, which number she had listed (Tr. II 114-15). A.H. made arrangements with these

callers to come to the Americas Best Value Inn, where she performed sexual acts with them

in exchange for money (Tr. II 115-17).

       In a little more than twenty-four hours at the motel, A.H. had more than ten dates in

which she performed sexual acts in exchange for money (Tr. II 117-18). Per Petitioner’s

instruction, whenever A.H.’s dates paid her, she placed the money in a bedside drawer (Tr.

II 118-19). Upon making $200 to $300, she would tell Petitioner and he would come pick

                                              11
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 12 of 48




up the money (Tr. II 118-19). Petitioner’s reasoning was that it was safer not to have a

large amount of money in her possession in case one of her dates robbed her (Tr. II 119).

A.H.’s understanding of the working agreement between her and Petitioner was that she

would keep some of the money she made, but Petitioner took every dollar that was paid to

her and did not give her any of it (Tr. II 98-99, 119-20). When it became clear to her that

she would not be keeping any of the money she was being paid in exchange for sex acts,

A.H. wanted to leave the motel, but she felt there would be repercussions if she did so,

even though Petitioner had not said anything outright (Tr. II 182).

       While A.H. was at the Americas Best Value Inn, Petitioner supplied her with

methamphetamine, though she never asked him to get it for her (Tr. II 123). When

Petitioner would come to pick up the money A.H. had made, or to bring her food, he would

ask her, “Are you good, do you need anything else?” (Tr. II 123-24). As he had already

brought her food and asked her if she needed any more condoms, A.H. knew that with that

question, Petitioner was asking her if she “need[ed] anything else to keep [her] up to

continue making [her] dates” (Tr. II 124). In the time they were together, Petitioner was

A.H.’s only source of methamphetamine (Tr. II 181-82). During the approximately one

and a half days that she stayed at the Americas Best Value Inn, A.H. left the motel only

one time, when Petitioner took her to Taco Bell because she was hungry (Tr. II 124). “All

the other times [she] was either making dates or waiting for dates to call.” (Tr. II 124).

       One of A.H.’s dates at the Americas Best Value Inn claimed to be a police officer

(Tr. II 124). He then told her he was not really an officer and was only trying to scare her

(Tr. II 124). He did scare A.H., prompting her to contact Petitioner and tell him she needed

                                             12
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 13 of 48




to leave the motel (Tr. II 125). It was when she was leaving that motel that she met

Michelle, 2 Petitioner’s “top girl,” or “top bitch,” and the person A.H. was supposed to

contact if she could not reach Petitioner (Tr. II 121-23). Petitioner moved A.H. to the

nearby Biltmore Hotel, also at I-40 and Meridian in Oklahoma City (Tr. II 66, 125).

       At the Biltmore, Petitioner did not rent A.H. a separate room, and she stayed in the

same room with Petitioner and Michelle (Tr. II 125-26). There, Petitioner repeatedly asked

A.H. if she had re-posted her ad, and her answer was always yes (Tr. II 126). However,

her ad did not result in any calls for dates at the Biltmore, and when Petitioner realized her

ad was not working, he became agitated and upset (Tr. II 127). Petitioner never spoke of

a legitimate job, and A.H. did not know of any source of income for Petitioner other than

the money she and other prostitutes gave him (Tr. II 127).

       It was at the Biltmore Hotel that A.H. met Leticia Hudson (Tr. II 128). A.H. and

Petitioner were sitting outside at the back of their room when Ms. Hudson walked by (Tr.

II 128). A.H. asked her if she had a lighter and Ms. Hudson said she had one in her room

(Tr. II 128-29). After letting Petitioner know where she was going, A.H. went with Ms.

Hudson to her room to use the lighter, but she ended up staying there the whole night (Tr.

II 129-31). A.H. told Ms. Hudson that she did not want to work as a prostitute anymore

and just wanted to go home; Ms. Hudson told A.H. to stay with her, and that she would

lock the door and find a way to get A.H. home (Tr. II 130-31). By this time, A.H. had been

working as a prostitute for Petitioner for about a week (Tr. II 131).


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 This was the Michelle Barton, who was arrested with Petitioner, though A.H. only referred
to her by her first name (Tr. II 72-73, 201, 206).
                                             13
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 14 of 48




       Petitioner began calling A.H., first about once per hour, but because she rejected his

calls, he started calling her “frantically.” (Tr. II 131-32). Petitioner and Michelle then

came to Ms. Hudson’s room where Michelle banged and kicked on the front door of the

room, and Petitioner did the same to the back door of the room (Tr. II 132). Michelle told

them they needed to open the door or she would “kick [their] ass[es]” and Petitioner called

A.H.’s name, asking her what was going on and to open the door (Tr. II 132). After twenty

to thirty minutes, hotel security arrived (Tr. II 132-33). Petitioner left, but Michelle

remained (Tr. II 133). When Ms. Hudson opened the door to speak to security, Michelle

punched through the space created by the open door, hit Ms. Hudson in the face, and took

Ms. Hudson’s phone out of her hand (Tr. II 133-34). Knowing Michelle was after the

phone Petitioner had bought for A.H., A.H. gave her that phone and took Ms. Hudson’s

back (Tr. II 134).

       Petitioner returned to the back door of Ms. Hudson’s room after security left,

prompting Ms. Hudson to call a person she knew as V.P. (Tr. II 135). After V.P. arrived

with a gun and had a conversation with Petitioner, Petitioner left, yelling to A.H, “You’re

gonna get yours.” (Tr. II 135-36, 139). She understood Petitioner’s words to mean

something was going to happen to her for her choice, and she “didn’t want to stick around

to find out what it was.” (Tr. II 139). A.H. took Petitioner’s words as a threat that he would

beat her if she stopped making money for him (Tr. II 158-60).

       Though A.H. thought V.P. was just helping them out with Petitioner, he told them

that in exchange for his assistance, they would now work for him, meaning they would still

perform sexual acts in exchange for money, but the money would go to him (Tr. II 136-

                                             14
           Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 15 of 48




37). A.H. and Ms. Hudson had one date each while at the Biltmore, earning about $80 (Tr.

II 137-38). V.P. was supposed to come back the next morning for his money, but the

women left the Biltmore during the night without telling anyone (Tr. II 137, 139).

         Ms. Hudson called a friend who gave them a ride to a Motel 6 in Oklahoma City,

where Ms. Hudson rented a room for her and A.H. (Tr. II 140-41). A.H. took a shower and

went to sleep (Tr. II 141). Ms. Hudson woke her up to tell her she had posted an ad for a

“two-girl special” and made a date with someone for $200 (Tr. II 141). Their plan was to

do one date, split the $200, and A.H. would be able to go back to Tulsa (Tr. II 149). Ms.

Hudson showed A.H. a photograph of their date, and A.H.’s response to her was, “He is a

cop.” (Tr. II 142). A.H. was correct. Their date turned out to be Agent Forney, and he was

in their room for about five minutes before law enforcement authorities entered (Tr. II 142-

43). After speaking to Agent Phillips, A.H. went to a shelter for human trafficking victims

in Tulsa (Tr. II 60-61, 144-46, 202, 219). A.H. promised Agent Phillips she would stay at

the shelter for twenty-four hours, and that is exactly how long she stayed (Tr. II 146). She

left the shelter because she was afraid someone would come looking for her there (Tr. II

146).

         On July 23, 2016, Petitioner made a phone call while in the Oklahoma County Jail,

the recording of which was admitted by stipulation as State’s Exhibit 1 (Tr. II 186-87). In

the phone call with a person Petitioner referred to as his cousin, Petitioner said the police

told him he was being arrested for human trafficking (State’s Ex. 1 at 1:48-1:56). 3 The



3
    Times cited are approximate.
                                             15
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 16 of 48




cousin asked if Petitioner had spoken to Michelle, but Petitioner told him Michelle would

not say anything about him regarding human trafficking (State’s Ex. 1 at 2:00-2:23).

Petitioner wondered how they could get him for human trafficking, and stated there had to

be a victim to say he was doing this (State’s Ex. 1 at 3:04-3:20, 3:25-3:35, 4:12-4:30, 16:30-

16:35). More than once, Petitioner stated that “they gotta find the trick that I did it with”

(State’s Ex. 1 at 16:36-16:39; see also State’s Ex. 1 at 6:10-6:19, 6:19-6:22). A “trick”

was a way for a pimp to refer to his prostitutes (Tr. II 193). Agent Phillips understood

Petitioner’s statement to mean that Petitioner was “looking for the girl that he prostituted

out that is talking to police.” (Tr. II 213-14). Agent Phillips had no reason to believe that

Petitioner knew that A.H. had been caught or had spoken to authorities at the time of the

phone call (Tr. II 211-12). Other facts will be presented as they relate to Petitioner’s

propositions.

                           ARGUMENT AND AUTHORITY

       Petitioner raises the following propositions of error in his habeas petition:

   1. “Appellate counsel deprived Petitioner of the effective assistance for failing
      to show Petitioner was factually innocent of the accused crime.”

   2. “Appellate counsel was ineffective for failing to raise the warrantless arrest
      lacked probable cause.”

   3. “The trial court allowed an improper instruction that violated Mr. Shelton’s
      right to present a defense and to a fair and impartial trial by jury.”

Doc. 1 at 5, 18, 22 (grammar and syntax in original, random capitalization omitted). In his

Motion to Supplement, Petitioner raises the following additional claims:

   4. “Appellate counsel was ineffective for failing to raise the claim when the
      State failed to file a brief in opposition or list of authorities opposing Mr.

                                             16
            Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 17 of 48




         Shelton’s motions and letters stamped filed pursuant to title 12 Ch. 2 app.
         rule 4(e); Ok. Const. Art. 2 § 20; Title 22 O.S. § 13, the Oklahoma County
         district court lost its subject matter jurisdiction and authority to impose valid
         judgment.”

      5. “Appellate counsel was ineffective for failing to raise the claim the trial court
         committed plain error denying a constitutional right to a preliminary
         examination on the charge of Pandering, allowing the jury to debate on
         alternative theories or charges.”

      6. “Appellate counsel was ineffective for not raising the claim, the record
         demonstrates a high possibility of a civil rights violation, the same being a
         Brady violation.”

      7. “Newly discovered evidence. The trial court abused its discretion when
         Judge Henderson showed bias by favoring the female assistant district
         attorney, ignoring obvious statutory laws, constitutional laws and playing a
         dual role of both preliminary judge and trial judge.”

      8. “The trial court erred by not giving an instruction defining ‘Human
         Trafficking’ in violation of Mr. Shelton’s constitutional right to a fair trial.”

      9. “Because the evidence was insufficient to support Mr. Shelton’s conviction
         for human trafficking for commercial sex, due process requires his case to be
         reversed and remanded with instructions to dismiss.”

     11. “Prosecutorial misconduct for failure to disclose secret relationship with
         Judge Henderson.”

     12. “Ineffective assistance of appellate counsel for failing to raise the claim, trial
         counsel failed to investigate and raise secret sexual relationship between
         Judge Henderson and ADA’s Collins and McConnell.”

     13. “Ineffective assistance of appellate counsel.”

Doc. 5 at 2-6 (grammar and syntax in original, random capitalization omitted). 4

         Respondent concedes that Petitioner’s Proposition VII requires federal habeas relief

in the form of a new trial. Respondent’s concession renders Petitioner’s Propositions III,


4
    Petitioner has not raised a Proposition 10.
                                                  17
           Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 18 of 48




V, VI, VIII, XI, XII, and XIII moot. This leaves Petitioner’s Propositions I, II, IV, and IX,

as hypothetical relief on these propositions would preclude a second trial. Respondent

shows herein that the OCCA’s decision to deny Petitioner relief on his Proposition IX was

neither contrary to, nor an unreasonable application of, federal law, nor an unreasonable

determination of the facts in light of the state court record. Respondent further shows that

Petitioner’s Propositions I, II, and IV, and a portion of Proposition IX, are unexhausted,

but subject to an anticipatory procedural bar. Accordingly, while Petitioner is entitled to a

writ of habeas corpus ordering a second trial, he is not entitled to a writ precluding a second

trial.

                                     PROPOSITION I

               RESPONDENT CONCEDES THAT HABEAS RELIEF
               IS REQUIRED ON PETITIONER’S CLAIM THAT HE
               WAS DENIED A FAIR TRIAL BY THE UNDISCLOSED
               CONDUCT OF THE JUDGE WHO PRESIDED OVER
               PETITIONER’S TRIAL WITH THE PROSECUTOR
               WHO REPRESENTED THE STATE IN PETITIONER’S
               CASE, WHICH WAS ONGOING AT THE TIME OF
               PETITIONER’S TRIAL.

                  (In partial response to Petitioner’s Proposition VII.)

         In his Proposition VII, Petitioner claims that the “sexual misconduct and sexual

relationship” of former Judge Timothy Henderson, the judge who presided over his trial,

with Kelly Collins, the Assistant District Attorney who prosecuted Petitioner in this case,

denied Petitioner a fair trial. Doc. 5 at 5. For the reasons set forth below, Petitioner is

entitled to federal habeas relief on this claim.




                                              18
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 19 of 48




       Petitioner raised this claim during post-conviction proceedings in state district court,

in a Motion for Leave to Supplement Post-Conviction Relief (Exhibit 12). In his appeal of

the denial of post-conviction relief, Petitioner claimed:

                      In the case at bar, Petitioner Shelton was prejudiced by
              the Trial Judge Timothy Henderson’s sexual misconduct and
              sexual relationship with Assistant District Attorney Kelly
              Collins. Kelly Collins was the Assistant District Attorney that
              presided over Petitioner’s Trial. In the least, the personal
              relationship between the Trial Judge and Collins affected the
              integrity of the judicial proceedings, resulting in a gross
              miscarriage of justice. Hogan v. State, 2006 OK CR 19 ¶ 38,
              139 P.3d 907, 923 (holding, “we will only grant relief if the
              error seriously affects the (1) fairness, (2) integrity, (3) public
              reputation of the judicial proceedings (4) or otherwise
              represents a miscarriage of justice”).

(Exhibit 14 at 12 (grammar, syntax, and capitalization in original)). In support of his claim,

Petitioner cited an administrative order of March 26, 2021, suspending Henderson from

presiding over any court docket or conducting any court proceedings, as well as a news

report from the same date, in which it was reported that Henderson was expected to resign

(Exhibit 14 at 13). In his proposition heading, Petitioner alerted the OCCA that this was a

“new discovery” (Exhibit 14 at 12 (capitalization omitted)). However, the OCCA found

the claim was procedurally barred from review:

                    All of the propositions Petitioner asserts in this post-
              conviction proceeding either were or could have been raised
              and adequately addressed during his trial or in his direct appeal.
              The issues are therefore waived or procedurally barred. 22
              O.S.2011, § 1086; Logan [v. State, 2013 OK CR 2, ¶ 3, 293
              P.3d 969, 973]. Petitioner offers no reason why the
              propositions were not previously raised, and thus this Court
              does not find sufficient reason to allow Petitioner’s
              propositions to be the basis of this application for post-


                                              19
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 20 of 48




              conviction relief. 22 O.S.2011, § 1086; see also Davis [v.
              State, 2005 OK CR 21, ¶ 2, 123 P.3d 243, 244].

(Exhibit 15 at 2).

       The OCCA’s application of a procedural bar to Petitioner’s post-conviction claim

that he was denied a fair trial because of Henderson’s sexual conduct with one of the

prosecutors that was ongoing during his trial was incorrect. Contrary to the OCCA’s

finding, Petitioner’s claim in this regard could not have been raised on direct appeal, and

he offered a reason why it was not previously raised: because it was newly discovered in

March of 2021. Thus, under these very specific circumstances, federal habeas review of

the claim is not barred, and this Court should apply de novo review without deference under

28 U.S.C. § 2254(d). See Gipson v. Jordan, 376 F.3d 1193, 1196 (10th Cir. 2004) (stating

that “if the state court did not decide a claim on the merits, and the claim is not otherwise

procedurally barred, we address the issue de novo and the § 2254(d)(1) deference

requirement does not apply”). See also Cone v. Bell, 556 U.S. 449, 472 (2009) (observing

that because the state court did not reach the merits of the petitioner’s claim, federal habeas

review was not subject to Section 2254(d) deference, and instead the claim would be

reviewed de novo); Williams v. Trammell, 782 F.3d 1184, 1191 (10th Cir. 2015) (“We

review de novo claims that the state court did not adjudicate on the merits.”). A de novo

review of Petitioner’s claim leads to the conclusion that he is entitled to federal habeas

relief in the form of a new trial on this issue.

       Because the OCCA did not adjudicate the merits of Petitioner’s claim, 28 U.S.C.

§ 2254(d) does not limit this Court’s consideration of the issue to the record that was before


                                               20
           Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 21 of 48




the State court. See Littlejohn v. Trammell, 704 F.3d 817, 857 n.21 (10th Cir. 2013) (finding

that because the OCCA did not adjudicate the petitioner’s ineffective assistance of counsel

claim on the merits, “so long as he qualifies for one, a federal evidentiary hearing may be

used to develop the factual basis for his claim” and the federal courts “may consider the

evidence produced in the hearing in assessing the merits of his claim, without running afoul

of” Cullen). On this basis, Respondent offers evidence adduced in the direct appeal of

Robert Leon Hashagen, III v. State of Oklahoma, OCCA Case No. F-2021-203, in which

the conduct between Henderson and Ms. Collins was the subject of an evidentiary hearing

and subsequent findings of fact and conclusions of law by the state district court.

       On October 11, 2021, the OCCA issued an Order Remanding for Evidentiary

Hearing and Holding Further Briefing in Abeyance in Hashagen. The Order Remanding

for Evidentiary Hearing and Holding Further Briefing in Abeyance in Case No. F-2021-

203, is attached as Exhibit 18. Before his brief in chief was filed, Mr. Hashagen’s appellate

counsel filed a motion for new trial and request for an evidentiary hearing, alleging as

follows:

                     In the motion for new trial, Appellant alleges the
              existence of a previously undisclosed sexual relationship
              between Judge Henderson and the prosecutor Kelly Collins.
              Appellant attaches several non-record exhibits detailing Judge
              Henderson’s abrupt resignation from the bench effective April
              5, 2021, amidst an ongoing criminal investigation into his
              alleged sexual contact with at least three female attorneys, one
              of whom was identified in an unsealed search warrant
              application as Collins. Based upon these exhibits, Appellant
              claims “that he can establish that within the last five years,
              including during at least part of the pendency of this case in the
              court below, the judge who presided over his trial engaged in a


                                             21
          Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 22 of 48




               sexual relationship with at least one of the prosecutors in his
               case.” Motion at 10.

(Exhibit 18 at 3). The OCCA found the allegations in Mr. Hashagen’s motion required

fact finding and remanded the case to the District Court of Oklahoma County for an

evidentiary hearing (Exhibit 18 at 6).

       The evidentiary hearing in Hashagen was held on November 15, 2021, and was

presided over by the Honorable Paul Hesse, District Judge. The transcript of November

15, 2021, evidentiary hearing, is attached as Exhibit 19. At the evidentiary hearing, a

stipulation from Henderson was admitted as Court’s Exhibit 1, and a stipulation from Ms.

Collins was admitted as Court’s Exhibit 2 (Exhibit 19 at 4). The Stipulations of Tim

Henderson is attached as Exhibit 20. The Stipulation of Testimony of Kelly Collins is

attached as Exhibit 21. In their respective stipulations, both Henderson and Ms. Collins

agreed that they had sexual contact between April of 2016 and August of 2018 (Exhibit 20

at 2; Exhibit 21 at 1). 5

       Clay Curtis, one of Mr. Hashagen’s defense attorneys, testified in the hearing that

prior to the start of Mr. Hashagen’s trial in January 2021, he did not have any knowledge

of any kind of “intimate relationship” between Ms. Collins and Henderson, and had he

been aware, he would have asked Henderson “to recuse from the case, potentially filed a

motion to disqualify.” (Exhibit 19 at 6). Mr. Curtis went on to testify that “based on the



5
  Henderson and Ms. Collins disagree on the nature of the conduct. While Henderson
describes it as a “consensual sexual affair,” Ms. Collins describes what Henderson
subjected her to as sexual abuse (Exhibit 20 at 1; Exhibit 21 at 1-2).

                                             22
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 23 of 48




number of cases [he] had involving the two of them, I think you could pretty much rest

assured I would have filed some judicial and ethical bar complaints against both of them.”

(Exhibit 19 at 6). Lori McConnell, one of the three Assistant District Attorneys who, along

with Ms. Collins, represented the State in Hashagen, likewise testified at the hearing that

she had no knowledge of any kind of a relationship between Ms. Collins and Henderson

(Exhibit 19 at 92-93).    Mr. Curtis was also one of Petitioner’s attorneys, and Ms.

McConnell represented the State in Petitioner’s case along with Ms. Collins (Tr. I 3).

       Judge Hesse subsequently issued Findings of Fact and Conclusions of Law, filed on

December 20, 2021. The Findings of Fact and Conclusions of Law are attached as Exhibit

22. Judge Hesse found that Ms. Collins was one of three prosecutors assigned to Mr.

Hashagen’s case, and that “Henderson and Collins were involved” at the time of Mr.

Hashagen’s pretrial conference of January 17, 2018, “in a years-long, secret sexual

relationship. This relationship began in April 2016 and ended sometime during the summer

of 2018.” (Exhibit 22 at 2-3). The relationship ended prior to Mr. Hashagen’s trial, which

was held on January 25, 2021, through February 2, 2021 (Exhibit 22 at 3). Judge Hesse

found Ms. Collins was “substantially involved” in a pretrial hearing of January 21, 2021,

and “conducted the direct examination of several State witnesses, cross-examined two

defense witnesses, and gave the State’s first closing argument” at Mr. Hashagen’s trial

(Exhibit 22 at 2-3). Neither Henderson nor Ms. Collins disclosed to Mr. Hashagen or his

attorneys that they had been involved in a sexual relationship with each other (Exhibit 22

at 3). Mr. Hashagen and his attorneys were unable to request that Henderson recuse from



                                            23
          Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 24 of 48




Mr. Hashagen’s trial because the relationship was unknown to them, but they would have

made such a request if they had known of the relationship (Exhibit 22 at 3-4).

        Judge Hesse made the following conclusions of law concerning Mr. Hashagen’s

case:

              5.     There are certain circumstances as an objective manner
              that require recusal of a judge when “the probability of actual
              bias on the part of the judge or decisionmaker is too high to be
              constitutionally tolerable.” Caperton v. A.T. Massey Coal Co.,
              556 U.S. 868, 872, 129 S. Ct. 2252, 2257 [2009] (quoting
              Withrow v. Larkin, 421 U.S. 35, 47, 95 S. Ct. 1456, 1464
              (1975)). A past or current sexual relationship between a
              prosecutor and a judge is one of those circumstances. The
              existence of such an intimate relationship casts grave doubt on
              the impartiality of the judge and severely taints the rulings by
              the judge.

              6.      It is immaterial in this case that the sexual relationship
              between Henderson and Collins ended prior to Henderson’s
              rulings on the pretrial motions and trial. An unconstitutional
              potential for bias existed because Henderson could not have
              been neutral if he still had romantic feelings for Collins or if he
              feared that Collins might disclose their relationship out of
              frustration if she was dissatisfied with a ruling. The facts of
              this case are sufficient to raise an “unconstitutional potential
              for bias.” Caperton, 556 U.S. 868, 881.

              7.     A new trial is the only adequate remedy to redress the
              Defendant’s denial of due process of law. Also, a new trial is
              necessary in order to preserve the integrity and reputation of
              our judicial system.

(Exhibit 22 at 5). Judge Hess concluded that Mr. Hashagen “was denied due process and

recommend[ed] that he be granted a new trial by the Court of Criminal Appeals.” (Exhibit

22 at 6). The appeal in Hashagen is currently pending before the OCCA, with the State’s

direct appeal brief due on or before May 21, 2022.


                                              24
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 25 of 48




       Respondent respectfully requests that this Court consider the evidence adduced in

Hashagen and apply it to Petitioner’s claim. Given that one of Petitioner’s defense

attorneys, Mr. Curtis, and the second prosecutor, Ms. McConnell, testified at Mr.

Hashagen’s evidentiary hearing to their lack of knowledge of any sexual conduct between

Henderson and Ms. Collins in 2021, over three years after Petitioner’s trial in 2017, there

is no reason to believe that evidence adduced in an evidentiary hearing in this particular

case would be any different.

       The docket sheet for the instant case reflects that Henderson was assigned to

Petitioner’s case on August 5, 2016 (O.R. 201).          Ms. Collins’s first appearance in

Petitioner’s case was on September 1, 2017, when she checked out the transcript of the

preliminary hearing (O.R. 205). Petitioner’s trial was held on December 4-7, 2017. Ms.

Collins and Ms. McConnell represented the State at the trial, and Mr. Curtis and Sammy

Duncan represented Petitioner (Tr. I 3).

       Ms. Collins was substantially involved in the prosecution of Petitioner. Ms. Collins

argued for the State in the motions hearing of December 1, 2017 (Mot. Tr. 5-25). Ms.

Collins argued the pretrial motions on the first day of trial, conducted the direct

examination of three State’s witnesses on the second day of trial, delivered the State’s first

closing argument in the first stage of trial on the third day, and delivered the State’s final

closing argument in the second stage of trial on the fourth and final day (Tr. I 3-29; Tr. II

63-77, 81-151, 181-83, 188-220, 237-38; Tr. III 30-44; Tr. IV 43-44).

       Based on the stipulations of Henderson and Ms. Collins in Hashagen, their sexual

conduct, which lasted from April of 2016 until August of 2018, was undisclosed and

                                             25
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 26 of 48




ongoing from the time both Henderson and Ms. Collins entered Petitioner’s case, and

continued through his trial in December of 2017, and his sentencing on January 30, 2018.

       “A fair trial in a fair tribunal is a basic requirement of due process.” In re

Murchison, 349 U.S. 133, 136 (1955). See also Caperton v. A.T. Massey Coal Co., Inc.,

556 U.S. 868, 876 (2009) (quoting Murchison, 349 U.S. at 136). “Fairness of course

requires an absence of actual bias in the trial of cases. But our system of law has always

endeavored to prevent even the probability of unfairness.” Murchison, 349 U.S. at 136.

Petitioner has not shown any actual bias on the part of Henderson which affected his trial.

However, “the Due Process Clause may sometimes demand recusal even when a judge

‘ha[s] no actual bias.’” Rippo v. Baker, __U.S.__, 137 S. Ct. 905, 907 (2017) (quoting

Aetna Life Ins. Co. v. Lavoie, 475 U.S. 813, 825 (1986)). “To establish an enforceable and

workable framework, the [Supreme] Court’s precedents apply an objective standard that,

in the usual case, avoids having to determine whether actual bias is present.” Williams v.

Pennsylvania, 579 U.S. 1, 8 (2016). “The Court asks not whether a judge harbors an actual,

subjective bias, but instead whether, as an objective matter, ‘the average judge in his

position is likely to be neutral, or whether there is unconstitutional potential for bias.’” Id.

(quoting Caperton, 556 U.S. at 881 (further internal quotation marks omitted)). See also

Caperton, 556 U.S. at 572 (finding recusal is required “when ‘the probability of actual bias

on the part of the judge or decision maker is too high to be constitutionally tolerable’”

(quoting Withrow v. Larkin, 421 U.S. 35, 47 (1975))).

       “Both the appearance and reality of impartial justice are necessary to the public

legitimacy of judicial pronouncements and thus to the rule of law itself.” Williams, 579

                                              26
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 27 of 48




U.S. at 16. As found by Judge Hesse in Hashagen, “[a] past or current sexual relationship

between a prosecutor and a judge is one of those circumstances” in which “‘the probability

of actual bias on the part of the judge or decision maker is too high to be constitutionally

tolerable.’” (Exhibit 22 at 5 (quoting Caperton, 556 U.S. at 872)). That conclusion is only

reinforced where, as here, the conduct was ongoing at the time of Petitioner’s trial.

Respondent concedes that under the facts of this case, there exists an “‘unconstitutional

potential for bias.’” Williams, 579 U.S. at 8 (quoting Caperton, 556 U.S. at 881). This

constitutional violation is not subject to a harmless error analysis. See Tumey v. Ohio, 273

U.S. 510, 535 (1927) (“No matter what the evidence was against [the accused], he had the

right to have an impartial judge.”). See also Ruiz v. United States, 990 F.3d 1025, 1030

(10th Cir. 2021) (recognizing the violation of the right to an impartial judge as one of the

constitutional errors which “remain so intrinsically damaging and basic to our trial system

as to never be harmless” (citing Tumey)).

       Respondent’s position should be narrowly construed to the facts at hand. Although

Petitioner has not shown any bias that had any effect on the trial, under the available

evidence and the facts of Petitioner’s case (including, but not limited to, Ms. Collins’s

particular, substantial involvement at his trial), the timing of Henderson’s conduct with

Ms. Collins “casts grave doubt on the impartiality” of Henderson and “severely taints the

rulings” by him (Exhibit 22 at 5). Because Petitioner “had the right to have an impartial

judge,” Respondent concedes his case should be reversed and remanded for a new trial.

Tumey, 273 U.S. at 535 (finding a violation of the right to an impartial judge, and reversing

and remanding the case “for further proceedings not inconsistent with this opinion”). See

                                             27
           Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 28 of 48




also State v. Wakefield, 751 S.E.2d 199, 204, 206 (Ga. Ct. App. 2013) (affirming the grant

of new trials for five defendants where the judge violated state statutory disqualification

rules by “engag[ing] in an undisclosed sexual relationship with [a public defender] while

presiding over” their trials). Petitioner is entitled to no further relief.

                                      PROPOSITION II

                PETITIONER’S PROPOSITIONS III, V, VI, VIII, XI,
                XII, AND XIII ARE RENDERED MOOT BY
                RESPONDENT’S CONCESSION THAT FEDERAL
                HABEAS RELIEF IS WARRANTED.

                (In response to Petitioner’s Propositions III, V, VI, VIII,
                XI, XII, and XIII).

         In his Proposition III, Petitioner claims the trial court issued an improper jury

instruction that violated his right to present a defense, and denied him a fair trial. Doc. 1

at 22. In his Proposition V, he claims appellate counsel was ineffective for failing to raise

the claim that the trial court erred in denying him a preliminary hearing on the alternative

charge of Pandering. Doc. 5 at 2-3. In his Proposition VI, Petitioner claims appellate

counsel was ineffective for raising the claim of a civil rights violation, “the same being a

Brady violation,” 6 concerning alleged audio recordings of A.H. and Ms. Hudson, and text

messages from V.P. Doc. 5 at 3. In his Proposition VIII, Petitioner claims the trial court

erred in failing to submit a jury instruction defining “human trafficking”. Doc. 5 at 5. In

his Proposition XI, he raises a claim of “[p]rosecutorial misconduct for failure to disclose

secret relationship with Judge Henderson.” Doc. 5 at 6 (grammar and syntax in original).


6
    Petitioner seems to be referencing Brady v. Maryland, 373 U.S. 83 (1963).

                                               28
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 29 of 48




In his Proposition XII, he claims appellate counsel was ineffective for failing to raise a

claim that trial counsel was ineffective for failing to “investigate and raise secret sexual

relationship between Judge Henderson and ADA’s Collins and McConnell.” Doc. 5 at 6

(grammar and syntax in original). Finally, in his Proposition XIII, Petitioner claims that

appellate counsel was ineffective, but does not state on what grounds. Doc. 5 at 6. These

claims are rendered moot by Respondent’s concession in its Proposition I that Petitioner is

entitled to federal habeas relief in the form of a new trial. 7

       “Article III of the Constitution restricts the power of federal courts to ‘Cases’ and

‘Controversies.’ Accordingly, ‘[t]o invoke the jurisdiction of a federal court, a litigant

must have suffered, or be threatened with, an actual injury traceable to the defendant and


7
  Petitioner’s Propositions V, VI, XI, XII, and XIII are also unexhausted. Respondent does
not waive exhaustion. Although Petitioner raised the substantive issues which are the
subject of his Propositions V and VI to the OCCA in his post-conviction appeal, he did not
raise them as grounds of ineffective assistance of appellate counsel (Exhibit 14 at 3, 9-11).
While Petitioner claimed he was denied a fair trial by the undisclosed sexual relationship
between the judge and the prosecutor in his post-conviction appeal, he has not presented to
any state court any claim that the prosecutor committed misconduct in failing to disclose
the relationship, or that appellate counsel was ineffective for failing to present a claim that
trial counsel was ineffective for failing to investigate the relationship (Exhibit 14 at 12-15).
See Grant v. Royal, 886 F.3d 874, 891 (10th Cir. 2018) (stating that “there is no fair
presentation if the claim before the state court was only ‘somewhat similar’ to the claim
pressed in the habeas petition” (citation omitted). Petitioner has not raised his claim in his
Proposition XIII to any state court. See Dever v. Kan. State Penitentiary, 36 F.3d 1531,
1534 (10th Cir. 1994) (“The exhaustion requirement is satisfied if the federal issue has been
properly presented to the highest state court, either by direct review of the conviction or in
a post-conviction attack.”). These claims would be subject to an anticipatory procedural
bar if Petitioner returned to state court to raise them in a second post-conviction application.
See Grant, 886 F.3d at 892 (“Where the relevant state courts ‘would now find those claims
procedurally barred, there is a procedural default for the purposes of federal habeas
review.’” (citation omitted)). However, as set forth above, these claims have been rendered
moot by Respondent’s concession in its Proposition I, and further discussion of them is
unnecessary.
                                               29
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 30 of 48




likely to be redressed by a favorable judicial decision.’” Chafin v. Chafin, 568 U.S. 165,

171-72 (2013) (quoting Lewis v. Continental Bank Corp., 494 U.S. 472, 477 (1990)).

“Federal courts may not ‘decide questions that cannot affect the rights of litigants in the

case before them’ or give ‘opinion[s] advising what the law would be upon a hypothetical

state of facts.’” Id. at 172 (quoting Lewis, 494 U.S. at 477). “The ‘case-or-controversy

requirement subsists through all stages of federal judicial proceedings, trial and appellate.’”

Id. (quoting Lewis, 494 U.S. at 477). “‘[I]t is not enough that a dispute was very much

alive when suit was filed’; the parties must ‘continue to have a “personal stake”’ in the

ultimate disposition of the lawsuit.” Id. (quoting Lewis, 494 U.S. at 477-78). Therefore,

there is “no case or controversy, and a suit becomes moot, ‘when the issues presented are

no longer “live” or the parties lack a legally cognizable interest in the outcome.’” Id.

(quoting Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013)).

       A favorable decision on any or all of the claims raised in Petitioner’s Propositions

III, V, VI, VIII, XI, XII, and XIII, would result in a new trial for Petitioner. However,

Respondent has conceded in Proposition I that a new trial is warranted based on Petitioner’s

claim concerning the undisclosed sexual relationship between Henderson and one of the

prosecutors that was ongoing at the time of Petitioner’s trial. In light of Respondent’s

concession, Petitioner no longer has a “personal stake” in the disposition of these

propositions, and any decision rendered by this Court on them would amount to an

“‘opinion advising what the law would be upon a hypothetical state of facts.’” Chafin, 568

U.S. at 172 (quoting Lewis, 494 U.S. at 477-78). This Court should therefore find



                                              30
          Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 31 of 48




Petitioner’s Propositions III, V, VI, VIII, XI, XII, and XIII moot, and decline to review

them further.

                                      PROPOSITION III

                THE DECISION BY THE OCCA THAT THE STATE
                PRESENTED SUFFICIENT EVIDENCE TO SUSTAIN
                PETITIONER’S    CONVICTION   FOR    HUMAN
                TRAFFICKING FOR COMMERCIAL SEX WAS NOT
                CONTRARY     TO,   OR   AN  UNREASONABLE
                APPLICATION OF, FEDERAL LAW, NOR WAS IT AN
                UNREASONABLE DETERMINATION OF THE FACTS
                IN LIGHT OF THE STATE COURT RECORD.

                    (In partial response to Petitioner’s Proposition IX.)

       In Proposition IX, Petitioner claims the State presented insufficient evidence to

convict him of Human Trafficking for Commercial Sex. Doc. 5 at 5-6. Petitioner raised

this claim on direct appeal as his second proposition of error, and the OCCA denied it on

the merits (Exhibit 1 at 12-21; Exhibit 3 at 3-4). The OCCA’s decision was neither contrary

to, nor an unreasonable application of, federal law, nor an unreasonable determination of

the facts in light of the state court record.

       On direct appeal, the OCCA denied Petitioner’s claim that the State presented

insufficient evidence to support his conviction for Human Trafficking for Commercial Sex:

                        As to Proposition II, the complaining witness, A.H.,
                testified that [Petitioner] recruited her as a prostitute, drove her
                from Tulsa to Oklahoma City, bought her clothing and other
                personal items, supplied her with methamphetamine, helped
                her set up an online personals ad to attract customers, provided
                her with motel rooms in which to conduct business, and
                confiscated the money she made from performing sex acts with
                strangers. She testified that at the time she agreed to work for
                [Petitioner], she was homeless, jobless, and penniless, and felt
                she had no other option. The jury was well aware that A.H.

                                                31
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 32 of 48




              was not physically forced to work for [Petitioner]; its verdict
              that [Petitioner’s] actions nevertheless amounted to “coercion”
              as defined in 21 O.S. § 748 is supported by competent
              evidence. Jessie v. State, 1982 OK CR 99, ¶¶ 2-3, 648 P.2d
              46, 46-47. Proposition II is denied.

(Exhibit 3 at 3-4). The factual findings made by the OCCA in this matter are presumed

correct because Petitioner has not rebutted those findings by clear and convincing evidence.

See 28 U.S.C. § 2254(e)(1) (providing that “a determination of a factual issue made by a

State court shall be presumed correct” and the petitioner “shall have the burden of rebutting

the presumption of correctness by clear and convincing evidence”); Hooks v. Workman,

689 F.3d 1148, 1163 (10th Cir. 2012) (“factual findings of the state court are presumed

correct unless the applicant rebuts that presumption by ‘clear and convincing evidence’”

(quoting 28 U.S.C. § 2254(e)(1))). The OCCA’s decision is neither contrary to, nor an

unreasonable application of, federal law, nor an unreasonable determination of the facts in

light of the state court record. 28 U.S.C. § 2254(d). As a result, federal habeas corpus

relief is not warranted.

       The governing standard for evaluating sufficiency of the evidence claims was set

forth by the Supreme Court in Jackson v. Virginia, 443 U.S. 307, 318 (1979). In Jackson,

the Supreme Court stated that a reviewing court’s critical inquiry was to determine whether

the record evidence could reasonably support a finding of guilt beyond a reasonable doubt.

Jackson, 443 U.S. at 318. The reviewing court does not determine “whether it believes

that the evidence at the trial established guilt beyond a reasonable doubt.” Id. at 319

(emphasis in original). Instead, the relevant question is “whether, after viewing the



                                             32
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 33 of 48




evidence in the light most favorable to the prosecution, any rational trier of fact could have

found the essential elements of the crime charged beyond a reasonable doubt.” Id.

       In the context of habeas corpus review, the AEDPA adds a second layer of deference

to the Jackson standard. In Coleman v. Johnson, 566 U.S. 650 (2012), the Supreme Court

stated as follows:

              We have made clear that Jackson claims face a high bar in
              federal habeas proceedings because they are subject to two
              layers of judicial deference. First, on direct appeal, it is the
              responsibility of the jury – not the court – to decide what
              conclusions should be drawn from evidence admitted at trial.
              A reviewing court may set aside the jury’s verdict on the
              ground of insufficient evidence only if no rational trier of fact
              could have agreed with the jury. And second, on habeas
              review, a federal court may not overturn a state court decision
              rejecting a sufficiency of the evidence challenge simply
              because the federal court disagrees with the state court. The
              federal court instead may do so only if the state court decision
              was objectively unreasonable.

Johnson, 566 U.S. at 651 (internal quotation marks and citations omitted).

       In this case, the OCCA did not explicitly cite to the Jackson standard in finding the

evidence sufficient to sustain Petitioner’s conviction for Human Trafficking for

Commercial Sex (Exhibit 3 at 3-4). However, “[a] state court’s decision is not ‘contrary

to . . . clearly established Federal law’ simply because the court did not cite to [the Supreme

Court’s] opinions.” Mitchell v. Esparza, 540 U.S. 12, 16 (2003) (quoting Early v. Packer,

537 U.S. 3, 8 (2002)). “[I]t is well settled that a state court need not cite to specific Supreme

Court precedent[.]” Parker v. Scott, 394 F.3d 1302, 1318 (10th Cir. 2005). Indeed, the

state court “need not even be aware of [Supreme Court] precedents, ‘so long as neither the

reasoning nor the result of the state-court decision contradicts them.’” Mitchell, 540 U.S.

                                               33
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 34 of 48




at 16 (quoting Early, 537 U.S. at 8). See also Simpson v. Carpenter, 912 F.3d 542, 563

(10th Cir. 2018) (same). The evidence presented at trial clearly demonstrates the OCCA

did not make an unreasonable determination of the facts in light of the evidence presented

at trial and its decision affirming the verdict was not contrary to, or an unreasonable

application of, Jackson.

       This Court looks to Oklahoma law for the elements of Human Trafficking for

Commercial Sex. Jackson, 443 U.S. at 324 n.16. See also Torres v. Mullin, 317 F.3d 1145,

1152 (10th Cir. 2003) (“In considering the OCCA’s application of the Jackson sufficiency

of the evidence standard, we apply Oklahoma law regarding the substantive elements of

the offense.”); Wingfield v. Massie, 122 F.3d 1329, 1332 (10th Cir. 1997) (“In applying the

Jackson standard, we look to Oklahoma law to determine the ‘substantive elements’ of the

relevant criminal offense.”). In order to convict Petitioner of Human Trafficking for

Commercial Sex, the State had to prove the following elements beyond a reasonable doubt:

              First, knowingly;
              Second, recruiting, enticing, maintaining, transporting or
              providing another person;
              Third, through coercion;
              Fourth, for the purpose of engaging that person in an act of
              commercial sex.

(O.R. 131). See also Okla. Stat. tit. 21, § 748(A)(6)(a). Coercion was defined for the jury

as:

              Compelling or forcing or intimidating a person to act by:

              Threats of harm or physical restraint against any person.
                                             OR
              Facilitating or controlling a person’s access to any addictive or
              controlled substance other than for legal medical purposes.

                                             34
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 35 of 48




                                            OR
              Demanding or claiming money from a prostituted person
              where such demand or claim is directly related to the act of
              prostitution.
                                            OR
              Determining or dictating or setting the times at which another
              person will be available to engage in an act of prostitution with
              a third party.
                                            OR
              Determining or dictating or setting the places at which another
              person will reside for purposes of making such person
              available to engage in an act of prostitution with a third party.

(O.R. 132). See also Okla. Stat. tit. 21, § 748(A)(1). On direct appeal, Petitioner claimed

the State failed to prove the element of coercion (Exhibit 1 at 15). In his habeas petition,

he claims the State failed to prove “that he trafficked anyone, except the word of someone

who was regarding [A.H.’s] acts before she was allegedly a victim of human trafficking.”

Doc. 5 at 5-6. 8 The evidence presented at trial supports the OCCA’s decision to deny

Petitioner’s claim of insufficient evidence.

       With the use of the word “or” in listing the ways coercion can be proven, Okla. Stat.

tit. 21, § 748(A)(1)(a-j), the element would have been satisfied with proof that Petitioner

compelled A.H. to act by doing any one of the acts listed. See Penny v. State, 765 P.2d

797, 799 (Okla. Crim. App. 1988) (finding the Legislature’s use of the disjunctive “or”


8
  As noted above, Petitioner’s claim on direct appeal was that the State failed to prove the
coercion element of Human Trafficking for Commercial Sex (Exhibit 1 at 15-21). In his
habeas petition, Petitioner claims that “the trial court erred in excluding the evidence,” and
that “[t]he jury was barred from considering compelling exculpatory evidence that
supported Mr. Shelton’s defense,” without stating what evidence was allegedly improperly
excluded. Doc. 5 at 6. Petitioner has not raised this claim to the OCCA, and has only
raised it for the first time in this Court. This particular aspect of Petitioner’s Proposition
IX is therefore unexhausted, and Respondent shows in its Proposition IV that it is subject
to an anticipatory procedural bar.
                                               35
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 36 of 48




provides “alternative ways of committing, and proving, this same essential element”).

Instead, the State proved coercion by presenting proof of each alternative listed.

       Petitioner compelled, forced, or intimidated A.H. to act by determining the place at

which A.H. would stay for purposes of engaging in prostitution. Okla. Stat. tit. 21,

§ 748(A)(1)(i). After they arrived in Oklahoma City and made a trip to Ross, Petitioner

took A.H. to an Americas Best Value Inn (“ABVI”) at I-40 and Meridian (Tr. II 106-07).

Though A.H. testified Petitioner rented the room because she did not have identification,

he rented the room for the purpose of providing a place for A.H. “to make and service

dates.” (Tr. II 107). Petitioner did not rent the room for A.H. to do as she pleased; rather,

he rented it for her to perform “sexual acts in exchange for money.” (Tr. II 107-08). A.H.

did not ask Petitioner to rent the room for her (Tr. II 108). After approximately a day and

a half at the ABVI, Petitioner moved A.H. to the nearby Biltmore Hotel when she became

worried that one of her potential clients was a police officer (Tr. II 124-25). There, he put

A.H. in the same room in which he and Michelle, his “top girl,” or “top bitch,” were staying

(Tr. II 122, 125-26). Though she did not have any dates at the Biltmore while working for

Petitioner, that was Petitioner’s purpose in taking her there as he repeatedly asked her if

she had re-posted her ads seeking dates (Tr. II 126-27). Petitioner grew agitated and upset

when A.H.’s ads were not generating any dates while she was at the Biltmore (Tr. II 127).

       Petitioner also compelled, forced, or intimidated A.H. to act by determining the

times A.H. would be available to engage in prostitution. Okla. Stat. tit. 21, § 748(A)(1)(h).

Once at the ABVI, Petitioner told A.H. that another woman would be in touch with her to

help her write an ad which would draw attention and generate dates (Tr. II 109). This

                                             36
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 37 of 48




woman helped A.H. choose which words to use, and Petitioner helped her choose which

photographs to use (Tr. II 109-12). Petitioner gave A.H. one of his phones to use to post

her ad (Tr. II 112-13). In a little more than twenty-four hours while at the ABVI, A.H. had

more than ten dates in which she performed sexual acts in exchange for money (Tr. II 117).

During that time, A.H. left the motel only one time, when Petitioner took her to Taco Bell

because she was hungry (Tr. II 124). “All the other times [she] was either making dates or

waiting for dates to call.” (Tr. II 124). After he moved A.H. to the Biltmore, Petitioner

repeatedly asked her if she had re-posted her ad, and her answer was always yes (Tr. II

126-27). Petitioner was agitated and upset when the ad did not result in any dates (Tr. II

127). When she spent the night in Ms. Hudson’s room at the Biltmore, A.H. rejected

Petitioner’s phone calls which prompted him to call her phone “frantically.” (Tr. II 131).

       Petitioner also compelled, forced, or intimidated A.H. to act by claiming money

from A.H., and such claim was directly related to her acts of prostitution. Okla. Stat. 21,

§ 748(A)(1)(g). At Petitioner’s direction, A.H. would put the money her clients paid her

in exchange for sexual acts in a drawer next to the bed (Tr. II 118-19). Once she made

$200 to $300, she would let Petitioner know and he would come pick the money up (Tr. II

118-19). A.H.’s understanding of the working agreement between her and Petitioner was

that she would keep some of the money she made, but Petitioner took every dollar that was

paid to her and did not give her any of it (Tr. II 98-99, 119-20). That Petitioner told A.H.

that he was taking the money so that if she was robbed, she would not be robbed of a large

amount of money (Tr. II 119), or that he bought her certain things to get her started in

prostitution (Tr. II 97-98, 104), or that he paid for the motel rooms for her to engage in

                                            37
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 38 of 48




prostitution (Tr. II 107, 125), 9 does not change the fact that he claimed the money from

A.H., and his claim for the money was directly related to her acts of prostitution. Okla.

Stat. tit. 21, § 748(A)(1)(g).

       The evidence also established that Petitioner compelled, forced, or intimidated A.H.

to act by facilitating and controlling A.H.’s access to a controlled substance. Okla. Stat.

tit. 21, § 748(A)(1)(e). Knowing her drug of choice from their first meeting, Petitioner

supplied A.H. with methamphetamine while she worked for him, though she never asked

him to get it for her (Tr. II 95-96, 123). When Petitioner would come to the ABVI to pick

up the money A.H. had made, or to bring her food, he would ask her, “Are you good, do

you need anything else?” (Tr. II 123-24). As he had already brought her food and asked

her if she needed any more condoms, A.H. knew that with that question, Petitioner was

asking her if she “need[ed] anything else to keep [her] up to continue making [her] dates”

(Tr. II 124). While at the ABVI and the Biltmore in July 2016, Petitioner was always the

one to get her drugs, though she never asked for them (Tr. II 181-82).

       Finally, Petitioner tried to compel, force, or intimidate A.H. to act by threatening

her with harm when she decided to quit working for him. Okla. Stat. tit. 21, § 748(A)(1)(a).

When it became clear to A.H. that she would not be keeping any of the money she was

being paid in exchange for sex acts, she wanted to leave the motel, but she felt there would

be repercussions if she did so, even if Petitioner had not said anything outright (Tr. II 182).



9
  A.H. never asked Petitioner for any of the things he bought for her and never asked him
to rent a motel room for her, and he never told A.H. that she owed him any money for
anything he paid on her behalf (Tr. II 105-06, 108).
                                              38
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 39 of 48




When A.H. spent the night in Ms. Hudson’s room at the Biltmore, Petitioner began

“frantically” calling A.H. when she rejected his initial calls (Tr. II 131-32). Petitioner and

Michelle then came to the room where A.H. was staying with Ms. Hudson and began

banging and kicking on the front and back doors of the room (Tr. II 132). Petitioner left

when hotel security came to the room but later returned, prompting Ms. Hudson to call

someone she knew as V.P. (Tr. II 135). V.P. arrived with a gun and spoke to Petitioner,

after which Petitioner left again (Tr. II 135-36). After V.P. spoke to him, Petitioner yelled

to A.H., “You’re gonna get yours.” (Tr. II 139). She did not need Petitioner to “spell it

out” for her – she knew Petitioner meant something was going to happen to her for her

choice, and she “didn’t want to stick around to find out what it was.” (Tr. II 139). A.H.

understood Petitioner’s words as a threat that he would beat her if she stopped making

money for him (Tr. II 158-60).

       The above evidence is more than sufficient to prove Petitioner coerced A.H. into

engaging in prostitution. Despite Petitioner’s attempt on direct appeal to spin the evidence

to show otherwise, the evidence showed he compelled, forced, or intimidated A.H. into

engaging in acts of prostitution by threatening her with harm, facilitating and controlling

her access to methamphetamine, claiming money she was paid in exchange for her

performance of sexual acts, determining the times at which she would be available for

prostitution, and determining the places at which she would be available for prostitution.

The jury’s determination that Petitioner was guilty of Human Trafficking for Commercial

Sex cannot be viewed as irrational and the OCCA’s decision upholding the verdict cannot

be considered “objectively unreasonable.” Johnson, 566 U.S. at 651.

                                             39
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 40 of 48




       On direct appeal, Petitioner pointed to A.H.’s testimony that he did not force her to

come to Oklahoma City, and nobody made her perform sex acts in exchange for money

(Tr. II 100-01, 153-54, 179, 182-83). However, Section 748(E) specifically states that

“[t]he consent of a victim to the activity prohibited by this section shall not constitute a

defense.” Okla. Stat. tit. 21, § 748(E). That A.H. took the drugs Petitioner provided her,

let him know when it was time to pick up the money from the bedside drawer, placed her

ads online and made dates, and did not try to leave the ABVI when she worked for

Petitioner there as a prostitute in no way diminishes the evidence that his acts constituted

coercion under Section 748(A)(1).

       This Court does not re-weigh or reconsider evidence on habeas review. See

Jackson, 443 U.S. at 319 (emphasizing the deference owed to the trier of fact). Rather, this

Court accepts the jury’s resolution of the evidence “as long as it is within the bounds of

reason.” Grubbs v. Hannigan, 982 F.2d 1483, 1487 (10th Cir. 1993). Based on the evidence

reflected in the record, there is no question that a rational trier of fact could have found

beyond a reasonable doubt that Petitioner was guilty of Human Trafficking for Commercial

Sex. Jackson, 443 U.S. at 319. As a result, this Court cannot conclude that the OCCA’s

decision upholding the jury’s guilty verdict was based on an unreasonable determination

of the facts, or was contrary to, or an unreasonable application of, Jackson. Johnson, 566

U.S. at 651. This Court should deny habeas relief to Petitioner on his Proposition IX.




                                            40
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 41 of 48




                                    PROPOSITION IV

              PETITIONER’S PROPOSITIONS I, II, IV, AND A
              PORTION OF PROPOSITION IX ARE UNEXHAUSTED
              AND    SUBJECT   TO    AN    ANTICIPATORY
              PROCEDURAL BAR.

              (In response to Petitioner’s Propositions I, II, and IV, and
              in partial response to Petitioner’s Proposition IX.)

       In his Proposition I, Petitioner claims appellate counsel was ineffective for failing

to show he “was factually innocent of the accused crime.” Doc. 1 at 5 (capitalization

omitted). In his Proposition II, Petitioner claims appellate counsel was ineffective for

failing to raise a claim that Petitioner’s warrantless arrest lacked probable cause. Doc. 1 at

18. In his Proposition IV, Petitioner claims appellate counsel was ineffective for failing to

raise a claim “when the State failed to file a brief in opposition or list of authorities

opposing Mr. Shelton’s motions and letters,” resulting in the loss of jurisdiction by the

Oklahoma County District Court to “impose a valid judgment.” Doc. 5 at 2. Finally, within

the sufficiency of the evidence claim in Petitioner’s Proposition IX, he also claims that “the

trial court erred in excluding the evidence,” and that “[t]he jury was barred from

considering compelling exculpatory evidence that supported Mr. Shelton’s defense.” Doc.

5 at 6. These claims have never been presented to the OCCA, and they are therefore

unexhausted. If Petitioner were to return to state court in an attempt to exhaust these

claims, the OCCA would find them procedurally barred in a second post-conviction

proceeding. Accordingly, this Court should enforce the OCCA’s procedural bar to these

claims in an anticipatory manner.



                                             41
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 42 of 48




       “[E]xhaustion in the state courts is a prerequisite for habeas review in federal court.”

Grant, 886 F.3d at 927 (citing Davila v. Davis, __ U.S. __, 137 S. Ct. 2058, 2064 (2017);

Picard v. Connor, 404 U.S. 270, 275 (1971)). See also Selsor v. Workman, 644 F.3d 984,

1026 (10th Cir. 2011) (state prisoners may not present claims for federal habeas relief unless

they have exhausted their state court remedies (citing 28 U.S.C. § 2254(b)(1)(A))). The

AEDPA requires that a federal habeas petitioner “provide the state courts with a ‘fair

opportunity’ to apply controlling legal principles to the facts bearing upon his

constitutional claim.” Anderson v. Harless, 459 U.S. 4, 6 (1982) (quoting Picard, 404 U.S.

at 276-77). The Tenth Circuit has explained:

                      “[T]he crucial inquiry is whether the ‘substance’ of the
              petitioner’s claim has been presented to the state courts in a
              manner sufficient to put the courts on notice of the federal
              constitutional claim.” Prendergast v. Clements, 699 F.3d
              1182, 1184 (10th Cir. 2012) (citing Picard, 404 U.S. at 278, 92
              S. Ct. 509). “A petitioner need not invoke ‘talismanic
              language’ or cite ‘book and verse on the federal constitution.’”
              Id. (quoting Nichols v. Sullivan, 867 F.2d 1250, 1252 (10th Cir.
              1989)); accord Picard, 404 U.S. at 278, 92 S. Ct. 509. But, a
              “‘[f]air presentation’ requires more than presenting ‘all the
              facts necessary to support the federal claim’ to the state court.”
              Bland [v. Sirmons], 459 F.3d [999,] 1011 [10th Cir. 2006)]
              (emphasis added) (quoting Anderson, 459 U.S. at 6, 103 S. Ct.
              276). . . .

              [I]n order to be fairly presented, the state-court claim must be
              the “substantial equivalent” of its federal habeas counterpart.
              Picard, 404 U.S. at 278, 92 S. Ct. 509. There is no such
              substantial equivalency where the claim raised in habeas
              proceedings is “in a significantly different and stronger posture
              than it was when the state courts considered it.” Jones v. Hess,
              681 F.2d 688, 694 (10th Cir. 1982). To satisfy exhaustion, then,
              the habeas petition’s focus—as well as the alleged error that it
              identifies—cannot depart significantly from what the
              petitioner had presented to the state court.

                                              42
          Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 43 of 48




Grant, 886 F.3d at 890-91.

       As it pertains to his Proposition IX, the only sufficiency of the evidence claim

Petitioner has presented to the OCCA is his claim that the State failed to prove the coercion

element (Exhibit 1 at 12-21; Exhibit 3 at 3-4). Petitioner has never presented an argument

to the OCCA that the evidence was somehow insufficient because the trial court erred in

excluding some unspecified evidence. 10

       As it pertains to his Propositions I, II, and IV, in Petitioner’s post-conviction

proceedings in state district court, Petitioner claimed appellate counsel was ineffective for

failing to make arguments on the substantive issues raised therein (Exhibit 5 at 4, 9-12, 15-

17). However, in his appeal of the state district court’s denial of post-conviction relief to

the OCCA, Petitioner claimed only that the trial court erred in its rulings on the substantive

issues, and no longer claimed appellate counsel was ineffective for failing to raise the

substantive issues (Exhibit 14 at 3, 5, 7-8). Petitioner has never presented an argument to

the OCCA that appellate counsel was ineffective for the reasons stated in his Propositions

I, II, and IV.

       “[A] ‘petitioner cannot assert entirely different arguments [in his or her request for

habeas relief] from those raised in the state court.’” Grant, 886 F.3d at 891 (quoting Bland,



10
  Indeed, such a claim would be distinct from a sufficiency of the evidence claim, as a
sufficiency review focuses only on the evidence before the jury, irrespective of whether
evidence may have been improperly admitted or excluded. See McDaniel v. Brown, 558
U.S. 120, 131 (2010) (a court reviewing for sufficiency of the evidence “‘must consider all
of the evidence admitted by the trial court,’ regardless of whether that evidence was
admitted erroneously” (quoting Lockhart v. Nelson, 488 U.S. 33, 41 (1988))).
                                             43
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 44 of 48




459 F.3d at 1011). “That is, there is no fair presentation if the claim before the state court

was only ‘somewhat similar’ to the claim pressed in the habeas petition.” Id. (quoting

Duncan v. Henry, 513 U.S. 364 (1995)). See also Dever, 36 F.3d at 1534 (“The exhaustion

requirement is satisfied if the federal issue has been properly presented to the highest state

court, either by direct review of the conviction or in a post-conviction attack.”).

       If Petitioner were to return to state court in an attempt to exhaust the claims at issue

in this proposition, the OCCA would undoubtedly find them procedurally barred because

they could have been raised on direct appeal. Grant, 886 F.3d at 901 (recognizing that

under Oklahoma’s Uniform Post-Conviction Procedure Act, Okla. Stat. tit. 22,

§ 1089(C)(1) (2011), “‘only claims which [w]ere not and could not have been raised on

direct appeal will be considered [in post-conviction proceedings]’” (internal quote omitted)

(alteration in original)). Petitioner’s claims are procedurally defaulted:

              Where the relevant state courts “would now find those claims
              procedurally barred, there is a procedural default for the
              purposes of federal habeas review.” Bland, 459 F.3d at 1012
              (quoting Dulin v. Cook, 957 F.2d 758, 759 (10th Cir. 1992));
              see also Moore v. Schoeman, 288 F.3d 1231, 1233 n.3 (10th
              Cir. 2002) (“‘Anticipatory procedural bar’ occurs when the
              federal courts apply procedural bar to an unexhausted claim
              that would be procedurally barred under state law if the
              petitioner returned to state court to exhaust it.”) (citing Hain v.
              Gibson, 287 F.3d 1224, 1240 (10th Cir. 2002)).

Grant, 886 F.3d at 892. Like the unexhausted claim in Grant, Petitioner’s claims are

“doubly subject to the anticipatory procedural bar” because they would be raised “for the

first time in a successive petition for post-conviction relief.” Grant, 886 F.3d at 901 n.8

(emphasis in original). See Smith v. State, 878 P.2d 375, 377 (Okla. Crim. App. 1994)


                                              44
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 45 of 48




(“issues which could have been raised on direct appeal or in the first post-conviction

application, but were not, are waived” (citing Okla. Stat. tit. 22, § 1086)). See also Medlock

v. Ward, 200 F.3d 1314, 1323 (10th Cir. 2000) (“Despite the especially vigilant scrutiny we

apply in examining procedural bars to ineffective assistance claims, we have held that

Oklahoma’s procedural bar to claims not raised on initial post-conviction review is

independent and adequate.”).

       Dismissal without prejudice is not appropriate in this case because the OCCA would

find Petitioner’s claims “procedurally barred on independent and adequate state procedural

grounds,” namely Oklahoma’s Post-Conviction Relief Act. Grant, 886 F.3d at 892. It is

well established that Section 1086 of Oklahoma’s Post-Conviction Relief Act provides an

independent and adequate state procedural bar. Smith v. Workman, 550 F.3d 1258, 1274

(10th Cir. 2008); Sherrill v. Hargett, 184 F.3d 1172, 1175 (10th Cir. 1999); Odum v. Boone,

62 F.3d 327, 331 (10th Cir. 1995). This Court should find that the claims at issue here are

subject to an anticipatory procedural bar.

       This Court should further decline to review Petitioner’s claims because he cannot

overcome the procedural bar.

              A petitioner may overcome the procedural bar only if he can
              “demonstrate cause for the default and actual prejudice as a
              result of the alleged violation of federal law, or demonstrate
              that failure to consider the claims will result in a fundamental
              miscarriage of justice.” Coleman [v. Thompson], 501 U.S.
              [722,] 750, 111 S. Ct. 2546 [(1991)].

Grant, 886 F.3d at 892.




                                             45
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 46 of 48




       Petitioner cannot satisfy the cause and prejudice exception to the procedural bar.

The Supreme Court has explained that “‘cause’ under the cause and prejudice test must be

something external to the petitioner, something that cannot fairly be attributed to him.”

Coleman, 501 U.S. at 753 (emphasis in original). Petitioner does not acknowledge he has

never presented the claims at issue in this proposition to the OCCA, and therefore makes

no effort to overcome the procedural bar. Doc. 1 at 5, 18, 21; Doc. 5 at 2, 5-6. As Petitioner

cannot demonstrate cause for his default, Respondent need not address the issue of

prejudice. See Steele v. Young, 11 F.3d 1518, 1522 n.7 (10th Cir. 1993).

       Petitioner also makes no effort to overcome the anticipatory bar by demonstrating

that this Court’s refusal to review these claims will result in a fundamental miscarriage of

justice. As a result, this Court should refuse to review the same. See Grant, 886 F.3d at

902 (where the petitioner made “no effort to overcome [the anticipatory] bar by arguing

cause and prejudice, or a fundamental miscarriage of justice,” the Court was “precluded

from considering [the petitioner’s] procedural due process competency claim”).

Nevertheless, in his Proposition IX, Petitioner claims the evidence was insufficient to

sustain his conviction, and in his Proposition I, he presents a lengthy argument that

appellate counsel was ineffective for failing to show he was “factually innocent” of the

crime. Doc. 1 at 5-17; Doc. 5 at 5-6. However, Petitioner’s Proposition I is nothing more

than another sufficiency of the evidence claim, as it is supported only by evidence

presented at trial. Doc. 1 at 5-17. It is therefore at most a claim of legal innocence, not

factual innocence, and is insufficient to establish a fundamental miscarriage of justice. See

Lowery v. Bryant, No. 18-6158, 760 Fed. Appx. 617, 619 (10th Cir. Jan. 15, 2019)

                                             46
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 47 of 48




(unpublished) (stating that an “actual innocence claim based on insufficiency of the

evidence . . . would show only legal innocence,” and not factual innocence). See also

Thacker v. Workman, 678 F.3d 820, 842 (10th Cir. 2012) (the miscarriage of justice

exception “hinges on a persuasive showing that [Petitioner] is actually innocent”); Beavers

v. Saffle, 216 F.3d 918, 923 (10th Cir. 2000) (holding that the miscarriage of justice

exception applies only to claims of factual innocence, not legal innocence).

       Petitioner’s Propositions I, II, IV, and a portion of his Proposition IX are

unexhausted and would be procedurally barred by the OCCA if he were to present them in

a second post-conviction application. Because Petitioner cannot overcome the procedural

bar to the same, he is not entitled to relief. This Court should apply an anticipatory

procedural bar and decline to entertain these unexhausted claims of error.

                                      CONCLUSION

       Respondent concedes Petitioner is entitled to federal habeas relief in the form of a

new trial based on his Proposition VII. This concession renders Petitioner’s claims in his

Propositions III, V, VI, VIII, XI, XII, and XIII moot. As it pertains to Petitioner’s

Proposition IX, Respondent has further shown that the OCCA’s decision that Petitioner’s

conviction was supported by sufficient evidence was neither contrary to, nor an

unreasonable application of, federal law, nor an unreasonable determination of the facts in

light of the state court record. Finally, Respondent has shown that Petitioner’s Propositions

I, II, IV, and a portion of his Proposition IX, are unexhausted, and should not be entertained

due to the procedural bar which the OCCA would apply if Petitioner returned to state court

to exhaust them.

                                             47
         Case 5:21-cv-01082-D Document 13 Filed 05/03/22 Page 48 of 48




                                          Respectfully submitted,

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                                          ATTORNEYS FOR RESPONDENT

                             CERTIFICATE OF SERVICE

     X       I hereby certify that on May 3, 2022, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing.

       X      I hereby certify that on May 3, 2022, I served the attached document by mail
on the following, who is not a registered participant of the ECF System:

       Milton Shelton, # 246506
       Helena-JCCC
       Unit 6
       216 N. Murray St.
       Helena, OK 73741-9606

                                          s/ Keeley L. Miller




                                            48
